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                           IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

 Vicki D. Jenkins, individually and on            )      CASE NO: C2 04 720
 behalf of all similarly situated persons,        )
                                                  )      JUDGE SARGUS
          Plaintiff,                              )
                                                  )      MAGISTRATE JUDGE KING
     v.                                           )
                                                  )
 Hyundai Motor Finance Company, et al.,           )
                                                  )
          Defendants.                             )




                  PLAINTIFF’S MOTION IN SUPPORT OF FINAL
           APPROVAL OF THE PROPOSED SETTLEMENT AND APPROVAL OF
                       ATTORNEYS’ FEES AND EXPENSES


           Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiff Vicki Jenkins

 respectfully files this motion in support of final approval of the proposed settlement of this class

 action, as set forth in the Settlement Agreement that was preliminarily approved by the Court on

 April 9, 2009 (“Settlement”).1 HMFC is in agreement with the Motion in Support of Final

 Approval of the Proposed Settlement in accordance with the terms of the Settlement Agreement

 and does not oppose the amount of attorneys’ fees and expenses sought by Class Counsel.

 Through exceptional efforts, Class Counsel has achieved a settlement for the benefit of the Class

 that will provide for all Class Members exceptional relief. Examination of the criteria for

 approval of class settlements, including, among other things, the overwhelming approval of the

 Class, confirms that the Settlement is fair, reasonable and adequate and should be approved.



 1
  Unless otherwise defined herein, capitalized terms are intended to have the meaning assigned to
 those terms in the Settlement Agreement.
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 Moreover, not a single class member filed an objection to the Settlement, and only one class

 member requested exclusion from the Settlement.

        Plaintiff brought this action alleging that defendant Hyundai Motor Finance Company

 ("HMFC"), violated the Uniform Commercial Code and the Ohio Retail Sales Installment Act by

 issuing defective post-repossession notices to buyers who defaulted on retail sales contracts for

 the purchase of motor vehicles. Plaintiff sought compensatory and punitive damages, injunctive

 and declaratory relief, as well as costs and attorney fees. Defendant denied all allegations and

 filed a counterclaim.

        After more than four years of contentious litigation, extensive briefing, substantial

 discovery efforts, and lengthy settlement negotiations with two separate mediators, the parties

 have reached an agreement on a proposed class action settlement that will resolve all claims.

 The proposed settlement submitted with this motion for the Court's approval, will provide the

 following benefits to Settlement Class Members:

    •   HMFC shall agree that Settlement Class Members do not owe any deficiency balances on
        their accounts and have no obligation to pay the deficiency balances. HMFC represents
        for purposes of the Settlement Agreement that the outstanding principal deficiency
        balances on the accounts for the Settlement Class Members total approximately $5.6
        million.

    •   HMFC shall correct its internal account records for Settlement Class Members to reflect a
        zero balance on the accounts.

    •   HMFC shall take no further action to collect or attempt to collect deficiency balances on
        accounts of Settlement Class Members and shall dismiss any legal action pending against
        any Settlement Class Member concerning deficiency balances; and

    •   HMFC shall transmit electronically or by mail a request to Equifax, Experian, and
        Transunion (collectively “Credit Reporting Agencies”) to delete any reference to HMFC
        deficiency balances on the accounts of Settlement Class Members for each Settlement
        Class Member.


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 As discussed below, the settlement is fair, reasonable and adequate and should be finally

 approved.

  I.    SUMMARY OF PLAINTIFF’S CLAIMS

        This consumer class action is based on allegations that HMFC failed to satisfy the

 requirement that a creditor who repossesses collateral provide a particular notice to the debtor

 before disposing of the collateral. Plaintiff Vicki Jenkins had her automobile repossessed by

 HMFC in 2002. Jenkins alleges she did not receive the proper notice relating to the sale of her

 vehicle after repossession. Thereafter, HMFC attempted to collect from Jenkins an amount equal

 to the difference between what she owed at the time of repossession and the amount HMFC

 received from its sale of the vehicle (the “deficiency”).

        Plaintiff alleged that HMFC’S actions violated the U.C.C. provisions concerning

 disposition of secured collateral (found at R.C. §1309.610 et seq) and Ohio’s Retail Installment

 Sales Act (“RISA”), R.C. 1317.01 et seq. Specifically, Plaintiff alleged that HMFC’s failure to

 send the required notice and its attempts to collect the deficiency after auctioning Jenkins’

 vehicle violate the statutory requirement that creditors must provide notice following the

 repossession advising of specific aspects of the planned disposition of vehicles prior to selling

 the vehicle. HMFC denies these allegations and has asserted a counterclaim for the full

 deficiencies against both Plaintiff and absent class members.


  II.   HISTORY OF THE LITIGATION, DISCOVERY AND SETTLEMENT
         NEGOTIATIONS

        On August 2, 2004, Jenkins commenced this Action by filing a complaint against HMFC.

 Subsequently, on November 15, 2004, HMFC, in its Motion to Dismiss, denied, and continues to




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 deny, the substantive claims set forth in the complaint in this Action, and denied, and continues

 to deny, wrongdoing of any kind.

        Since that time, the Parties have engaged in both formal and informal discovery.

 Through this discovery, counsel for the Class obtained and reviewed documents related to the

 design and alleged failure to provide sufficient notice. After consideration of the documents

 exchanged during discovery, the parties agreed to enter into settlement discussions. At the

 outset, the parties participated in mediation in San Diego, with a well-known and respected

 mediator, retired Judge Lawrence Irving. Despite lengthy negotiations with, through, and

 separate from the mediator, the parties were not able to come to an agreement at that time and

 agreed to proceed with the litigation toward class certification.

        This action was certified as a class action on March 24, 2008, and the class was defined

 as follows:

                Consumers in the State of Ohio whose vehicles were repossessed
                and subsequently disposed of by [HMFC] after the July 1, 2001
                enactment of the amendments contained in Chapter 1309.101, et
                seq., the State’s version of Section 9-611 of the Uniform
                Commercial Code.

 After the Class was certified, the parties once again agreed to enter into settlement negotiations

 and notice to the Class was held in abeyance while the parties negotiated this settlement. At this

 juncture, the parties attempted to resolve the matter with the assistance of Southern District of

 Ohio mediator Robert S. Kaiser in December 2008. Although that mediation did not result in a

 settlement, the parties continued to communicate regularly via telephone and letter to work

 toward a settlement. The terms of the Settlement that relate to relief for the Settlement Class

 were ultimately finalized after extensive negotiations. The fees to be paid to Class Counsel were

 negotiated after the substantive terms of the Settlement were agreed upon in principle. The



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 complete agreement was then memorialized in the Settlement Agreement that was previously

 submitted to the Court for preliminary approval and approved by the Court on April 9, 2009.

        In addition to the claims related to deficiencies in HMFC’s post-repossession notice,

 Jenkins had asserted individual claims related to HMFC’s failure to properly submit information

 related to an insurance claim filed by Jenkins. Those claims have also been resolved.2

     III. TERMS OF THE SETTLEMENT

        The full text of the parties’ Settlement Agreement was previously submitted to the Court

 on April 6, 2009 and was preliminarily approved on April 9, 2009. The terms of the settlement

 are summarized below:

        A. Elimination Of Deficiency Balances

        HMFC has agreed that Settlement Class Members will not owe any deficiency on the

 Settlement Class Accounts (defined in the Settlement Agreement as a Settlement Class Member’s

 account with HMFC which is subject to the Settlement Agreement) and have no obligation to pay

 any deficiency (outstanding principal deficiency balances on the Settlement Class Accounts total

 approximately $5.6 million), HMFC will correct its internal records to reflect a zero balance on

 Settlement Class Accounts, and will take no further collection activity on those accounts.

 Settlement Agreement ¶ 2.2 (a,b,c).

        B. Correction of Credit Reports

        HMFC will seek the revision of the credit histories of Settlement Class members by

 requesting that Equifax, Experian, and TransUnion delete any reference to Settlement Class

 members' purported deficiency balances. Settlement Agreement ¶ 2.2(d).

        C. Incentive Award To Named Plaintiff


 2
  HMFC has agreed to the payment to Jenkins of $9,000, separate and apart from the relief
 provided to Settlement Class Members to resolve these claims.
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        The Settlement Agreement provides for payment of an incentive award to Vicki Jenkins

 in the amount of $5,000. The payment of the incentive award is separate from and in addition to

 the relief provided by the Settlement Agreement to Settlement Class members. Settlement

 Agreement ¶ 2.3.

        D. Attorney Fees And Expenses

        Jenkins seeks and HMFC shall not object to Jenkins’s entitlement to an award of attorneys’

 fees, costs and expenses in an amount not greater than $443,500. Payment of attorneys’ fees,

 costs, and expenses is separate from and in addition to the relief provided to members of the

 Settlement Class. Settlement Agreement ¶ 2.5.

        E. Identification Of Settlement Class Members

        HMFC has proved a class list to class counsel which includes the name, account number,

 deficiency balance, and deficiency balance payments for all settlement class members.

 Settlement Agreement ¶ 3.2.

        F. Mailing Of Class Notice

        HMFC has caused Class Notice to be sent by First Class Mail to all individuals

 identified on the Class List. Before mailing the Class Notice, HMFC performed an address

 check of the entire Class List through the National Change of Address database to update the

 addresses of Settlement Class Members. HMFC used the address found in the National Change

 of Address database or the last known address, if no new address was found. For Class Notices

 returned by the Postal Service for lack of a current correct address, HMFC attempted to conduct

 a further address search using the same tools it currently uses for deficiency collection and re-

 mailed the Class Notice by First Class Mail to any subsequently obtained addresses. Settlement

 Agreement ¶ 3.5.



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        G. Declaration Of Compliance

        HMFC provided the Court and Class Counsel, on May 27, 2009, a declaration confirming

 that notice was made to Settlement Class Members and enumerating the steps it took during the

 class notice process.

        H. Settlement Administration Costs

        HMFC has and will continue to pay all costs of the settlement administration, including

 but not limited to, the costs related to class notice, address updates, correction of credit reports,

 and the toll-free line for Settlement Class Member questions. These costs shall be separate from

 and in addition to relief provided to Settlement Class Members and the award of attorneys’ fees,

 costs, and expenses.     HMFC shall not be responsible for additional costs of settlement

 administration incurred by Class Counsel in excess of any such amount awarded by the Court.

 Settlement Agreement ¶ 3.11.

        I. Opt-Outs

        As a component of the Notice, Class Members were informed of their right to request

 exclusion from the Settlement. In order to do so, Class Members were instructed that any

 request for exclusions must have been postmarked by June 12, 2009. To be valid, a request for

 exclusion must have included:

        (a)     the Settlement Class Member’s full name, address and telephone number; and

        (b)    specifically and unambiguously state his or her desire to be excluded from the
        Settlement Class in Case No. C2-04-720; Vicki D. Jenkins, et al v. Hyundai Motor
        Finance Company, et al.

        J. Objections

        As a component of the Notice, Class Members were informed of their right to object to

 the Settlement. Any Settlement Class Member who intended to object to the fairness of the



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 Agreement must have filed any such objection with the Court, and provided copies of the

 objection to counsel for the parties, no later than June 26, 2009.

        Any objection to the Settlement Agreement must have included:

        (a)     the objector’s full name, address and telephone number;

        (b)    a written statement of all grounds for the objection accompanied by any legal
        support for such objection;

        (c)    copies of any papers, briefs or other documents upon which the objection is
        based;

        (d)     a list of all persons who will be called to testify in support of the objection;

        (e)     a statement whether the objector intends to appear at the Final Approval Hearing;
        and

        (f)     a list of all cases in which the objector and/or their counsel has filed objections to
        a class action settlement in the preceding five years.

        Any member of the Settlement Class who did not file a timely written and notice of his

 or her intent to appear at the Final Approval Hearing or who failed to otherwise comply with the

 requirements of the Settlement Agreement shall be foreclosed from seeking any adjudication or

 review of the Settlement Agreement by appeal or otherwise. Settlement Agreement ¶ 3.7.

        K. Releases

        Settlement Class Members who have not timely excluded themselves shall be deemed to

 have covenanted and agreed that, upon HMFC’s compliance with the terms of this Agreement,

 Settlement Class Members, on the one hand, and HMFC, on the other hand, shall mutually

 release and forever discharge each other from any and all claims, demands, actions, causes of

 action and suits pleaded against HMFC, Settlement Class Members in this action and all other

 claims, demands, causes of action of any nature whatsoever, including but not limited to

 violations of federal, state or other law (whether in contract, tort or otherwise, including



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 statutory and injunctive relief, common law, property, warranty and equitable claims), and also

 including unknown claims that were or could have been asserted in this action or in any other

 complaint, action or litigation in any other court or forum based upon or in any way relating to

 the accounts of the Settlement Class at HMFC. Settlement Agreement ¶ 4.1.

         The release provisions of this Agreement shall not apply in any manner to individuals

 who opt out of the Settlement Class or who do not fall within the definition of the Settlement

 Class. Settlement Agreement ¶ 4.3

   IV. THE PROPOSED SETTLEMENT SHOULD BE FINALLY APPROVED BY THE
        COURT

             A. The Standards for Judicial Approval of Class Action Settlements

         It is well settled that compromises of disputed claims are favored by the courts. Williams

 v. First Nat 'I Bank, 216 U.S. 582, 595 (1910). "Being a preferred means of dispute resolution,

 there is a strong presumption by courts in favor of settlement." In re Telectronics Pacing Sys.,

 137 F. Supp. 2d 985,1008 (S.D. Ohio 2001). See also, Cotton v. Hinton, 559 F.2d 1326, 1331

 (5th Cir. 1977) ("[I]n class action suits, there is an overriding public interest in favor of

 settlement."); Enter. Energy Corp. v. Columbia Gas Transmission Corp., 137 F.R.D. 240, 246

 (S.D. Ohio 1991) ("The law generally favors and encourages the settlement of class actions.").

         Pursuant to Rule 23(e), a court should approve a class settlement if it is fair, adequate,

 and reasonable, and in the best interest of the class. Williams v. Vukovich, 720 F.2d 909,921 (6th

 Cir. 1983); Telectronics, 137 F. Supp. 2d at 1008; Brotherton v. Cleveland, 141 F. Supp. 2d 894,

 903 (S.D. Ohio 2001); Granada Invs., Inc. v. DWG Corp., 823 F. Supp. 448, 453 (N.D. Ohio

 1993); Bronson v. Bd. Of Educ., 604 F. Supp. 68, 71 (S.D. Ohio 1984); In re Art Materials

 Antitrust Litig.,100 F.R.D. 367, 370 (N.D. Ohio 1983).




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           It is also well settled that the view of experienced counsel favoring the settlement is

 entitled to great weight. Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D. 496, 501 (E.D. Mich.

 2000) (citing Bronson, 604 F. Supp. at 73). A court should "defer to the judgment of

 experienced counsel who has competently evaluated the strength of his proofs." Williams, 720

 F.2d at 922-23. See also Kogan, 193 F.R.D. at 501. Where, as here, a settlement is endorsed as

 fair by experienced and sophisticated counsel after rigorous arm's-length negotiations, there is a

 strong initial presumption that the compromise is fair and reasonable.

           When examined under the applicable criteria, this Settlement is a fair, adequate and

 reasonable result that is in the best interests of the Class. Class Counsel believes that there are

 serious questions as to whether a more favorable monetary result against Defendants could or

 would be attained after trial and the inevitable post-trial motions and appeals. The Settlement

 achieves a prompt and certain recovery for Class Members and is unquestionably superior to the

 distinct possibility that were this action to proceed to trial, there could be no recovery at all.

 Moreover, analysis of the relevant factors confirms that the proposed Settlement merits this

 Court's approval.

              B. Evaluation of the Proposed Settlement

                  1. The Risk of Fraud or Collusion

           In assessing whether there is a risk of fraud, the Court should rely on its own familiarity

 with the issues, the results of discovery, and the character of the negotiations prior to entry of the

 decree. Williams v. Vukovich, 720 F.2d 909, 921 (6th Cir. 1983). The Court has been actively

 involved with this litigation since its inception, and is very much aware of the issues presented

 herein.




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         Prior to entering into the Settlement, counsel engaged in extensive arms-length

 negotiations. Final agreement was reached only after the active guidance of this Court and

 literally years of back and forth negotiations that culminated in multiple mediations. Given the

 aggressive way in which this case has been both prosecuted and defended, it cannot be said that

 the Settlement was the product of collusion.

                 2. The Complexity, Expense and Likely Duration of the Litigation

         This case presents complex, technical, factual and legal issues under both common law

 and statutory principles. These issues include, inter alia, (1) whether HMFC provided adequate

 notice to Class Members; (2) whether HMFC complied with the laws put in place to regulate said

 notice practices; and (3) the appropriate measure of damages, if any, to which Class Members

 are entitled.

         Defendant has taken the position that if this case were to proceed, it will dispute all of

 these issues, most of which are extremely fact intensive and in all likelihood will require a trial

 on the merits to resolve. Moreover, if these issues are adjudicated in a trial, it is anticipated that

 resolution of these issues will require lengthy expert testimony which will be extremely costly to

 both the Class and Defendant.

                 3. The Amount of Discovery Engaged in by the Parties

         Defendants have produced thousands of pages of documents in this litigation, including

 financial documents, client files, policies and procedures, and databases containing substantial

 information that helped Plaintiff evaluate this case and negotiate a fair and reasonable settlement

 for the Class. Prior to engaging in settlement negotiations, counsel for the Plaintiff carefully

 reviewed, sorted and analyzed these documents. In addition, the parties have engaged in written




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 discovery, with the Plaintiff fully cooperating in answering interrogatories and providing

 documents from her records and participating in a deposition.

                 4. The Likelihood of Success on the Merits

         The central thrust of the allegations in this litigation is that Defendants did not comply

 with notice requirement with respect to the sale of repossessed vehicles. While Class Counsel

 believe that they would be able to adduce facts at trial to prove these allegations, the Defendant

 contends that, in fact, the notices provided to class members were in compliance with the law. If

 the Court were to credit the arguments of the Defendants, Class Members would recover nothing

 in the present litigation.

                 5. The Reaction of Absent Class Members

         The reaction of the Class to the Settlement has been overwhelmingly positive.

 Approximately 906 notices were sent directly to individual Class Members. Despite the ample

 notice, only one Class Member has timely excluded herself from the Settlement, and not one

 class member filed an objection with the Court. The fact that there have been only one request

 for exclusion and not a single objection was filed, speaks volumes about the fairness and

 reasonableness of the terms proposed and the adequacy of the relief provided to class members.


                  C.     Agreed Upon Fees, Expenses and Class Representative Awards are
                         Reasonable and Warranted

         Through skillful and focused litigation, Plaintiff’s Counsel has achieved a Settlement that

 provides a value for the Class that likely will exceed $6 million. In addition to relief gained for

 the Class, HMFC has agreed to pay fees and expenses of $443,500 to the law firms representing

 the Plaintiff in this case. HMFC also agreed to an award of $5,000 to the Class Representative

 for her assistance in obtaining relief for the Class. The attorneys’ fees and expenses were


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 negotiated separately from the relief for the Class and the negotiated fees include compensation

 for all future services to be rendered by Plaintiffs’ Counsel – services which first-hand

 experience shows will constitute a substantial continuing commitment of time, effort and

 resources.3

        The fee negotiations were conducted at arm’s length, only after all of the terms of the

 Settlement had been agreed upon.4 The Sixth Circuit recognizes that “when awarding attorney’s

 fees in a class action, a court must make sure that counsel is fairly compensated for the amount

 of work done as well as for the results achieved.” Rawlings v. Prudential-Bache Properties, 9

 F.3d 513, 516 (6th Cir. 1993). And, when making such an award pursuant to Civil Rule 23(h),

 the Sixth Circuit requires only that such awards “be reasonable under the circumstances.” Id.

 (citing Smillie v. Park Chem. Co., 710 F.2d 271, 275 (6th Cir. 1983). A reasonable fee “is one

 that is adequately compensatory to attract competent counsel yet which avoids producing a

 windfall for lawyers.” Geier v. Sundquist, 372 F.3d 784, 791 (2004) (citing Reed v. Rhodes, 179

 F.3d 453, 471 (6th Cir.1999)).

        In the present litigation, although a substantial common benefit was rendered to the class,

 no true no common fund was created. Thus, the lodestar multiplier approach is appropriate when

 calculating reasonable attorney’s fees. The attorney fees agreed upon by the parties are far less

 than the lodestar currently held by Plaintiff’s counsel. In fact, if the Court were to use the

 multiplier method, it would see that the attorney fee requested is less than 20% of the Plaintiff’s

 Counsel’s current lodestar. Under these circumstances, the Court should give “great weight” to

 the negotiated fee in considering the fee request.

 3
   See Affidavits of David P. Meyer, attached hereto as Exhibit A; Barbara Quinn Smith, attached
 hereto as Exhibit B; and Scott L. Starr, attached hereto as Exhibit C (collectively “Class Counsel
 Affidavits”).
 4
   See Class Counsel Affidavits.
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            This litigation involves issues of larger importance for a nation of consumers who

 must find a way to assert their rights even when small dollar amounts are at stake. Absent

 appropriately commensurate fee awards, the incentives to undertake such salutary litigation will

 be lost. As Professor Conte writes:

        [C]ourts have been careful to award a fully compensable reasonable fee based on
        the underlying economic inducement for class action lawyers to pursue potentially
        expensive or complex common fund class litigation. These lawyers assume the
        risk of no compensation unless they successfully confer common fund benefits on
        the class, based on their reasonable expectation that they will share in the
        recovery in a fair proportion, in contrast to receiving a fee based initially on time-
        expended criteria that failed to give the results obtained factor primary
        consideration. 1 Alba Conte, Attorney Fee Awards §1.09, at 16 (2d ed. 1993)
        (footnotes omitted, emphasis in original).


 Simply put, the valuable service provided by Counsel both before and after this Settlement is

 approved, must be rewarded to ensure future similar efforts by counsel. As courts have aptly

 recognized, plaintiffs’ counsel take enormous risks with these large consumer cases, and often

 those risks don’t pan out.     Indeed even when consumer cases are successful, counsel are

 frequently uncompensated due to the lack of funds. In Re Rio Hair Naturalizer Products

 Liability Litigation, 1996 U.S. Dist. LEXIS 20440 at *11 (E.D. Mich. Dec. 20, 1996).


               1.      Courts have Regularly Approved Negotiated Fee Arrangements as
                        Part of Class Action Settlements


        Fee agreements between plaintiffs and defendants in class actions of this nature are

 encouraged, particularly where the attorneys’ fees are negotiated separately from and after all

 terms of the settlement on behalf of the class have been agreed to by the parties. Parties to a

 class action properly may negotiate not only the settlement of the action itself, but also the

 payment of attorneys fees. See Williams v. MGM-Pathe Communications Co., 129 F.3d 1026,

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 1027 (9th Cir. 1997). In accord with this precedent, the attorneys’ fee agreement here was

 negotiated between the Parties only after all of the provisions of the Settlement were

 determined.5


                  2.      Plaintiff’s Counsel are Entitled to Compensation for Creating a
                          Common Benefit for the Class


          Attorneys who create a benefit for a group of persons are entitled to their fees and costs

 based on the common benefit achieved. Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).

 Until Plaintiffs initiated this action, HMFC did not intend to compensate any of the Class

 Members. It was only through the efforts of Plaintiff and her attorneys that the millions in

 tangible monetary benefits were obtained for the Class.


                  3.     The Public Interest

          The benefit to society rendered by Plaintiffs’ Counsel in consumer class actions such as

 the present case was succinctly stated by the court in Rio Hair:

          Without compensation to those who are willing to undertake the inherent
          complexities and unknowns of consumer class action litigation, enforcement of
          the federal and state consumer protection laws would be jeopardized. As the
          Supreme Court has recognized, without a class action, small claimants
          individually lack the economic resources to vigorously litigate their rights. Eisen
          v. Carlisle & Jacqueline, 417 U.S. 156, 161 (1974). Thus, attorneys who take on
          class action matters enabling litigants to pool their claims provide a huge service
          to the judicial process.
 Absent the efforts of Plaintiffs’ Counsel, it is likely that no relief at all would have been obtained

 by any Class Members.




 5
     See Class Counsel Affidavits.
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                4.      The Contingent Nature of the Fee

        Plaintiffs’ Counsel undertook this litigation on a purely contingent basis, thereby bearing

 the full risk of non-recovery. Lost time and effort was not the only risk; Plaintiffs’ Counsel

 advanced the Class all of the costs. These and all future expenses will be deducted from

 Plaintiffs’ Counsel’s fees and expenses.

        The risk of such loss in consumer class cases is real. Adverse rulings lead to appeals and

 litigation can easily become very protracted and expensive to litigate. It also demonstrates the

 commitment of Plaintiffs’ Counsel to litigate a contingency case as long and as hard as necessary

 to succeed – as in this case.


                5.      The Value of the Services on an Hourly Basis

        The magnitude and complexity of the nationwide class action litigation undertaken by

 Plaintiffs’ Counsel cannot be overstated. Investigating and launching such complex litigation

 consumes an enormous amount of Plaintiffs’ Counsel’s time, labor and financial resources.


                6.      The Class Representative is entitled to an Award for her Efforts

        Payment of awards to class representatives lies within the discretion of the trial court and

 may be provided as a reward for the benefit visited on the class. In re Plastic Tableware

 Antitrust Litig., 1995 U.S. Dist. LEXIS 18166, at *2 (E.D. Pa. Dec. 4, 1995). Factors that courts

 consider when awarding incentive awards include: the risk to the plaintiff in commencing suit,

 both financially and otherwise; the notoriety and/or personal difficulties encountered by the

 representative plaintiff; the extent of the plaintiff's personal involvement in the lawsuit in terms

 of discovery responsibilities and/or testimony at depositions or trial; the duration of the



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 litigation; and the plaintiff's personal benefit (or lack thereof) purely in his capacity as a member

 of the class. Accordingly, the modest $5,000 award here is entirely appropriate.

   V.   THE NOTICE MEETS THE CIV. R. 23 AND DUE PROCESS REQUIREMENTS

        As noted above, and as attested to by Defendant in its Declaration in Support of

 Settlement Approval filed on May 27, 2009, the Notice approved by the Court was mailed to all

 identified Class Members. Approximately 906 notices were directly mailed to Class Members.

        The Notice to the Class exceeds the due process requirements of Civ. R. 23(C)(2) both in

 content and method of delivery to the Class. The Settlement may therefore be approved. See In

 Re Michael Milken, 50 F.R.D. 46, 60 (S.D. N.Y. 1993).

   VI. CONCLUSION

        For all of the reasons stated herein, Plaintiff respectfully requests that the Court grant

 final approval to the Settlement, approve the requested amount of attorneys’ fees and expenses,

 approve the incentive award to Plaintiff, and enter the accompanying Proposed Order (attached

 hereto as Exhibit D) approving the Settlement.

 Dated: June 30, 2009                            Respectfully submitted,

 FOR PLAINTIFF AND THE PLAINTIFF CLASS:

 /s/ David P. Meyer
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2009, a copy of the foregoing was filed electronically

 with the Court. Notice of this filing will be sent to all parties registered for electronic service by

 operation of the Court’s electronic filing system. The parties may access this filing through the

 Court’s system.

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